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given defendant a written notice to vacate (according to Te 24,005 of the Teka

day of and delivered by, th 's

nter:bond be set, 2 that plaintiffs bond be approved by the Court, and (3) that proper notices as required |
Court Rules are given to Defendant(s).

ENT: Plaintiff prays that defendant(s) be served with citation and that plaintiff have judgment against
sssion of-premises, including removal of defendant(s) and defendant(s)’s possession from the premises,
bove, attomey’ s fees, court costs, and interest on the above sums at the rate stated in the rerital

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o Signature of Plaintiff ndlord/Property Owner) or Agent
. Z21(t. Wee

Address of Plaintiff (Landlord /Property Owner) or Agent
- 3 37 Ph i Aas =

City Statt
£399 ~9b4-Geh.
Phone & Fax No. of Plaintiff (aridlord /Propery

